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AO 245B (CASDRev. 08/13) Judgment in a Criminal Case                                                       .._-_.' -     ..,..,->.!
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                                           SOUTHERN DISTRICT OF CALIFORNIA
                                                                                                 L.:.. _--'1tt,.· ."", ,.~ -_.. ,,",.' -".' -.
             UNITED STATES OF AMERICA                              JUDGMENT IN A CRIMINAL CASE
                                 V.                                (For Offenses Committed On or After November 1, 1987)
                THOMAS AI SOMMAY (13)
                                                                      Case Number:         14CR0216 MMA

                                                                    MICHAEL J. MESSINA
                                                                   Defendant's Attorney
REGISTRATION NO.                 99762198
o -
THE DEFENDANT:
181 pleaded guilty to count(s)          11 OF THE SUPERSEDING INDIClMENT

o was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is a4iudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                                              Count
Title & Section                   Nature of Offense                                                                                                  Numberls)
I 8:922(g)(l), 18:924(a)(2);          Felon in Possession of a Firearm and Ammunition; Aiding                                                           11
18:2; 18:924(d)(I),                   and Abetting; Criminal Forfeiture
28:2461 (c)




     The defendant is sentenced as provided in pages 2 through                4           of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
IZl Count(s)     Underlying Indictment                        is         dismissed on the motion of the United States.

181 Assessment: $100.00


IZl   No fine                  0 Forfeiture pursuant to order filed                                                                , included herein.
       IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notifY the court and United States Attorney of
any material change in the defendant's economic circumstances.




                                                                                                                                              14CR0216 MMA
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DEFENDANT:               THOMAS AI SOMMAY (13)                                                    Judgment - Page 2 of 4
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                                                IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
FIFTY-ONE (51) MONTHS




o     Sentence imposed pursuant to Title 8 USC Section 1326(b).
IZI   The court makes the following recommendations to the Bureau of Prisons:
      COURT RECOMMENDS PLACEMENT IN SOUTHERN CALIFORNIA OR IN THE WESTERN REGION OF
      THE UNITED STATES.

      COURT RECOMMENDS PLACEMENT IN THE RESIDENTIAL DRUG ABUSE PROGRAM (RDAP).


o     The defendant is remanded to the custody of the United States Marshal.

o     The defendant shall surrender to the United States Marshal for this district:
      o    at                              A.M.              on
      o    as notified by the United States Marshal.
                                                                  -----------------------------------
      The defendant shall surrender for service of sentence at the institution designated by the Bureau of
o     Prisons:
      o    on or before
      o     as notified by the United States Marshal.
      o    as notified by the Probation or Pretrial Services Office.

                                                      RETURN
I have executed this judgment as follows:

      Defendant delivered on                                            to
                               ----------------------------                  --------------------------------
at                                       • with a certified copy of this judgment.


                                                                  UNITED STATES MARSHAL



                                    By                    DEPUTY UNITED STATES MARSHAL


                                                                                                      14CR0216 MMA
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                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
           The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
D
           substance abuse. (Check, if applicable.)
IZI        The defendant shall not possess a ftrearm, ammunition, destructive device, or any other dangerous weapon.
           The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 ofthe DNA Analysis
IZI
           Backlog Elimination Act of2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
           The defendant shall comply with the requirements of the Sex Offender Registration and Notiftcation Act (42 U.S.C. § 16901, et
o          seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
           resides, works, is a student, or was convicted of a qualifying offense. (Check if applicable.)
o          The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

            Ifthis judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
       such fme or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule
       of Payments set forth in this judgment.
           The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
       with any special conditions imposed.
                                         STANDARD CONDITIONS OF SUPERVISION
      1)  the defendant shall not leave the judicial district without the pennission of the court or probation officer;
      2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
      3)  the defendant shall answer truthfully all inquiries by the probation officer and foHow the instructions of the probation officer;
      4)  the defendant shall support his or her dependents and meet other family responsibilities;
      5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
          reasons;
      6) the defendant shall notifY the probation officer at least ten days prior to any change in residence or employment;
      7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
          any paraphernalia related to any controlled substances, except as prescribed by a physician;
      8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
      9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
          unless granted pennission to do so by the probation officer;
      10) the defendant shaH pennit a probation officer to visit him or her at any time at home or elsewhere and shall pennit confiscation of any contraband
          observed in plain view of the probation officer;
      11) the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
      12) the defendant shall not enter into any agreement to act as an infonner or a special agent of a law enforcement agency without the pennission of
          the court; and
      13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
           personal history or characteristics and shall pennit the probation officer to make such notifications and to confinn the defendant's compliance
           with such notification requirement.



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                                SPECIAL CONDITIONS OF SUPERVISION


     1. Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing
        and counseling, as directed by the probation officer. Allow for reciprocal release of information between
        the probation officer and the treatment provider. May be required to contribute to the costs of services
        rendered in an amount to be determined by the probation officer, based on ability to pay.


     2. Report all vehicles owned or operated, or in which you have an interest, to the probation officer.


     3. Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of up to
        120 days (non-punitive).


     4. Resolve all outstanding warrants within 60 days.


     5. Submit your person, property, residence, office or vehicle to a search, conducted by a United States
        Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of
        contraband or evidence of a violation of a condition of release; failure to submit to a search may be
        grounds for revocation; the defendant shall warn any other residents that the premises may be subject to
        searches pursuant to this condition.


     6. Shall not associate with any member, prospect, or associate of the Tiny Oriental Crips), or any other
        gang, or club with a history of criminal activity, unless given permission by the probation officer.


     7. Shall not wear or possess any paraphernalia, insignia, clothing, photographs, or any other materials
        associated with a gang, unless given permission by the probation officer.


     8. Shall not loiter, or be present in locations known to be areas where gang members congregate, unless
        given permission by the probation officer.


II




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